       Case 1:25-cv-00289-ABJ          Document 51        Filed 06/16/25        Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DANIEL FAORO,                                    )
                                                  )
                Plaintiff,                        )          Case No. 1:25-cv-289
                                                  )
                v.                                )          Hon. Amy Berman Jackson
                                                  )
 JEWISH VOICE FOR PEACE, INC., et al.,            )
                                                  )
                Defendants.                       )
                                                  )
                                                  )

        DEFENDANT JEWISH VOICE FOR PEACE’S RULE 26.1 DISCLOSURE
                             STATEMENT

       Pursuant to D.D.C. Local R. 26.1, Defendant Jewish Voice for Peace (“JVP”), by and

through its undersigned counsel, states as follows:

       Defendant JVP states that it has no parent corporation and there is no publicly held

corporation that owns 10% or more of its stock.



Dated: June 16, 2025                                  Respectfully submitted,


                                                      /s/ Nora Snyder
                                                      Nora Snyder [admitted pro hac vice]
                                                      Brad J. Thomson [admitted pro hac vice]
                                                      People’s Law Office
                                                      1180 N. Milwaukee Ave
                                                      Chicago, IL 60642
                                                      773-235-0070
                                                      norasnyder@peopleslawoffice.com
                                                      brad@peopleslawoffice.com

                                                      /s/ Hanna Chandoo
                                                      Hanna Chandoo [admitted pro hac vice]
                                                      Dan Stormer [admitted pro hac vice]
                                                      Bina Ahmad [admitted pro hac vice]
                                                      Hadsell Stormer Renick & Dai, LLP
Case 1:25-cv-00289-ABJ   Document 51   Filed 06/16/25   Page 2 of 2




                                  128 N Fair Oaks Ave
                                  Pasadena, CA 91103
                                  (626) 585-9600
                                  hchandoo@hadsellstormer.com
                                  dstormer@hadsellstormer.com
                                  bahmad@hadsellstormer.com

                                  /s/ Lynne Bernabei
                                  Lynne Bernabei, D.C. Bar No. 938936
                                  Alan R. Kabat, D.C. Bar No. 464258
                                  Bernabei & Kabat, PLLC
                                  1400 16th Street NW, Suite 500
                                  Washington, DC 20036
                                  (202)745-1942
                                  bernabei@bernabeipllc.com
                                  kabat@bernabeipllc.com

                                  Attorneys for Defendant Jewish Voice for
                                  Peace
